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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


-against-                                                              04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                              Defendants.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                             DECISION & ORDER

I. INTRODUCTION

        Defendant Yassin Aref moves pursuant to 18 U.S.C. § 3145(b) for review of the detention

determination made by the Hon. David R. Homer, United States Magistrate Judge. See Motion for

Review [dkt. # 192]. The Government has opposed the motion. For the reasons that follow, the

motion is denied.

II. BACKGROUND

        The Court presumes familiarity with the general history and charges in this case, and will set

forth only those facts relevant to the instant motion. On September 30, 2005, following arraignment

on the Superceding Indictment,1 Magistrate Judge Homer conducted a detention hearing pursuant to


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            On Septemb er 29, 2005, the Grand Jury returned a 30 count Sup erseding Indictment. Counts 1-27 arise out
of the sting and charge both Aref and Hossain with conspiracy to engage in money laundering and substantive acts of

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the Bail Reform Act. Judge Homer found that the new charges contained in the Superceding

Indictment carried a presumption of detention, and that new evidence relating to Defendant Aref

that had not previously been available (including translations of Aref’s journal, speeches, and

writings) provided strength to the Government’s case. See Sept. 30, 2005 Dent. Hear. Trans. pp.

62-63. Judge Homer determined to detain Aref pending trial based upon his conclusion that

Defendant Aref presented both a danger to community and a risk of flight. Id.; see Order of

Detention Pending Trial [dkt. # 136].

         On February 10, 2006, Magistrate Judge Homer held a hearing on Defendant Aref’s request

to reconsider the detention determination based upon the purported discovery of new evidence. See

generally Feb. 10, 2006 Hearing Trans.; see also Def. Notice of Motion for Reconsideration [dkt. #

167]; 18 U.S.C. § 3142(f). Magistrate Judge Homer determined that the arguments raised in

support of the reconsideration motion did not warrant a change in Aref’s detention status. See Feb.

10, 2006 Hearing Trans. pp. 32-36. As indicated above, Defendant now moves pursuant to 18

U.S.C. § 3145(b) for review of Magistrate Judge Homer’s detention determination.

III. DISCUSSION

         When adjudicating a motion pursuant to 18 U.S.C. § 3145(b), the Court conducts a de novo

review of the Magistrate Judge’s decision in order to arrive at an independent determination

regarding the appropriateness of a defendant’s detention status. See United States v. Leon, 766 F.2d

77, 80 (2d Cir. 1985); United States v. Duncan, 897 F. Supp. 688, 690 (N.D.N.Y. 1995). Having


money laundering (counts 1-11), conspiracy to provide material support to terrorists and substantive acts of material
support (counts 12-19), conspiracy to provide material support to a terrorist organization (Jaish-e-Mohamm ad (JEM ))
and substantive counts of material support (counts 20-27). Count 28 charges Aref with falsely stating on his 2002 INS
Application to Adjust Status that he had not been a member of or affiliated with a political organization. Counts 29 and
30 charge Aref with making a false stateme nt to the F BI - d enying that he had been a m emb er or p art of the Islamic
Mo vement in Kurdistan (IMK), and denying that he knew Mullah Krekar.

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conducted such a de novo review in this case, and having considered the arguments presented by

Defendant in support of the instant motion,2 the Court finds that Aref’s continued remand is

appropriate precisely for the reasons previously articulated by Magistrate Judge Homer. The only

issue warranting further discussion is the argument that the length of the pre-trial detention warrants

Defendant’s release.

         At the time that Magistrate Judge Homer reconsidered Defendant’s detention status, Aref

had been detained for five (5) months and the trial date was uncertain. Magistrate Judge Homer

correctly determined that absent a due process violation, detention of five months was not a material

consideration, and further held that there was no indication that the trial would be unreasonably

delayed. Since Magistrate Judge Homer made this determination, a September 6, 2006 trial date has

been set.3 Thus, assuming the trial will proceed as planned, Aref’s pre-trial detention will be

approximately twelve (12) months.

         Given the complexity of this case as evidenced by defense counsels’ request to delay the trial

from June to September, see fn. 3, supra, no violation of Defendant’s due process rights occurs by

virtue of his pretrial detention of approximately one year. See United States v. El-Hage, 213 F.3d

74, 79-81 (2d Cir. 2000) (30-33 months of pretrial detention contemplated to be served, while

extraordinary, does not violate defendant’s due process rights given exceptional complexity of case

and other factors); United States v. El-Gabrowny, 35 F.3d 63, 65 (2d Cir. 1994) (18 month pretrial


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           The Court notes that June 6, 2006, Defendant Aref filed a motion “pursuant to 18 USC 3142(f)(B) for a re-
exam ination o f the issue o f detention, based o n new information which has a material bearing o n the issue of release.”
Notice of Motion [dkt. # 234]. Because the Government has not yet responded to this latest motion, the instant Decision
and Order d oes not consider or address the arguments presented therein.

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         At an April 12, 2006 scheduling conference held with counsel for all parties, at which time the instant motion
was pending, the Court proposed a June 6, 200 6 trial date. However, defense counsel requested a later trial date, and the
September 6, 200 6 trial was then agreed upon.

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detention, while unquestionably a long duration, does not violate due process, given importance and

complexity of case, extensive evidence, including numerous tapes in Arabic). Accordingly, the

Court finds that under the circumstances, the length of pre-trial detention alone does warrant

Defendant’s release. See United v. Orena, 986 F.2d 628, 630 (2d Cir. 1993) (“[T]here is no statutory

basis for the conclusion that the length of a pretrial detention warrants the granting of bail where

there has been a finding of danger to the community. To the contrary, Congress rejected any specific

time limit under the Bail Reform Act for detention pending trial, relying instead upon the Speedy

Trial Act.”) (quoting United States v. Colombo, 777 F.2d 96, 100-01 (2d Cir. 1985)); United States

v. Tortora, 922 F.2d 880, 889 (1st Cir. 1990) (“Congress has conspicuously omitted any instruction

to consider the potential length of detention as part of the pretrial release calculus.”).

IV. CONCLUSION

       For the reasons set forth above, Defendant Aref’s motion pursuant to 18 U.S.C. § 3145(b)

[dkt. # 192] is DENIED.

IT IS SO ORDERED.

DATED: June 8, 2006




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